              Case 1:20-cv-00406-DCN Document 1 Filed 08/17/20 Page 1 of 18



     ADAM P. KARP, ISB 8913
1    ANIMAL LAW OFFICES
     114 W. Magnolia St., Ste. 400-104
2    Bellingham, WA 98225
     888.430.0001
3    adam@animal-lawyer.com
4

5

6
                                  UNITED STATES DISTRICT COURT
7                                      DISTRICT OF IDAHO
8
     REBECCA FRAZIER-FRANCKE,                           Case No.:
9
                     Plaintiff,                                  MOTION TO WAIVE BOND
10
             vs.
11
     CITY OF MARSING, et al.;
12
                     Defendants.
13
            Plaintiff REBECCA FRAZIER-FRANCKE, through attorney ADAM P. KARP, moves
14
     the court to waive bond under IC 6-610, which imposes an ante litem bonding requirement where
15
     suit is lodged against defendant law enforcement officers for civil rights violations, as alleged here
16

17
     under federal and state law. As alleged, defendant Graham issued Frazier a sham criminal citation

18   under a nonextant Marsing law and then relied upon it to seize Frazier’s dog Odus. Defendant

19   Hammond threatened Frazier with such sham charge and participated in Odus’s removal, along

20   with Defendant Gist. Nearly five months later the Marsing city prosecutor dismissed the charge in

21   Frazier’s favor. Odus was returned to Frazier over four months after his removal.
22
            “In Idaho, a plaintiff is required, as a condition precedent to filing a lawsuit against any
23
     law enforcement officer when the action arises out of the performance of his duty, to prepare and
24
     file a bond at the time of the filing of the complaint. Gordan Ocampo v. Corizon, LLC, 1:18-CV-
25

      MOTION TO WAIVE BOND - 1                                          ANIMAL LAW OFFICES        OF
                                                                       A D A M P. K A R P , E S Q .
                                                           114 W. Magnolia St., Ste. 400-104  Bellingham, WA 98225
                                                                  (888) 430-0001  Facsimile: (833) 878-6835
                                                                          adam@animal-lawyer.com
              Case 1:20-cv-00406-DCN Document 1 Filed 08/17/20 Page 2 of 18



     00047-DCN, 2019 WL 1495251, at *10 (D. Idaho Apr. 4, 2019) (citing Idaho Code § 6-610). Once
1
     the bond amount is fixed and posted, “[a]t any time during the course of a civil action against a
2

3    law enforcement officer, the defendant or respondent may except to the sufficiency of the sureties

4    or to the amount of the bond.” I.C. § 6-610(4). If the defendant takes exception to the amount of

5    the bond, he may file a motion and the Court may increase the amount. I.C. § 6-610(7). The stated

6    purpose of Idaho Code § 6-610's bond requirement is, “in the event judgment is entered against
7    the plaintiff or petitioner, for the payment to the defendant or respondent of all costs and expenses
8
     that may be awarded against the plaintiff or petitioner, including an award of reasonable attorney's
9
     fees as determined by the court.” I.C. § 6-610(2). In a case against a law enforcement officer, under
10
     Idaho Code § 6-610(3) “the prevailing party shall be entitled to an award of costs as otherwise
11
     provided by law.”
12
            “The Idaho Court of Appeals and this Court have both recognized that Idaho Code § 6-610
13
     only applies to state law claims against law enforcement officers–it does not apply to alleged
14

15
     violations of constitutional rights brought pursuant to 42 U.S.C. § 1983.” ET v. Lake Pend Oreille

16   Sch. Dist. No. 84, 2:10cv-00292-EJL-CWD, 2012 WL 13133641, at *5 (D. Idaho Jan. 12, 2012)

17   (citing Ayala v. U.S., CV09-14-S-BLW, 2010 WL 299153 (D. Idaho Jan. 19, 2010); Hyde v.

18   Fisher, 152 P.3d 653, 658 (Idaho Ct. App. 2007) (“To impose a bond requirement under state law

19   as a precondition to the filing of an [action under federal law] would impermissibly burden the
20
     rights protected by that federal statute.”). The instant action is primarily an action brought under
21
     42 U.S.C. §1983 for violation of the Plaintiff’s 4th Amendment rights to be free from unreasonable
22
     searches and seizures, i.e., for falsely charging Plaintiff with a crime without probable cause and
23
     in retaliation for what they believed was an unreasonable but lawful refusal to surrender Odus. See
24
     [Proposed] Complaint, attached to Plaintiff’s Motion to Set Bond. Obviously, these claims under
25

      MOTION TO WAIVE BOND - 2                                         ANIMAL LAW OFFICES        OF
                                                                      A D A M P. K A R P , E S Q .
                                                          114 W. Magnolia St., Ste. 400-104  Bellingham, WA 98225
                                                                 (888) 430-0001  Facsimile: (833) 878-6835
                                                                         adam@animal-lawyer.com
                Case 1:20-cv-00406-DCN Document 1 Filed 08/17/20 Page 3 of 18



     federal law, §1983 require no bond. See Hill v. County of Benewah, 2:18-CV-00320-DCN, 2020
1
     WL 1049905, at *4 (D. Idaho Mar. 4, 2020) (“... it is true a bond is not required for claims brought
2

3    pursuant to 42 U.S.C. § 1983 ....”). Consequently, a bond is required in this case only for Plaintiff’s

4    state law claims, which are governed by the Idaho Tort Claims Act, Idaho Code § 6-901, et seq.

5           In determining what bond to set for pendent state claims, the court must analyze the relative

6    likelihood that defendants will prevail and the likelihood they will meet their burden in proving a
7    right to a substantial amount of attorney’s fees. Fees to the “prevailing party” are based on what is
8
     “otherwise provided by law,” viz., the Idaho Tort Claims Act (“ITCA”), which requires a showing
9
     “by clear and convincing evidence, that the party against whom or which such award is sought was
10
     guilty of bad faith in the commencement, conduct, maintenance or defense of the action.” IC 6-
11
     918A. The Idaho Court of Appeals has held that this standard, not IC 6-610, applies exclusively to
12
     motions for award of costs and fees in cases brought against Idaho law enforcement officers.
13
     Beehler v. Fremont Cy., 145 Idaho 656, 659 (App.2008). Whether the defendants are likely to so
14

15
     prevail turns on available defenses. The best ones are supplied by the immunities set forth in the

16   ITCA, viz., IC 6-904(3) (“Arises out of… malicious prosecution, abuse of process”). This will be

17   defendants’ strongest defense against state law claims of malicious prosecution and abuse of

18   process.

19          “Malice” refers to the “intentional commission of a wrongful or unlawful act, without legal
20
     justification or excuse and with ill will, whether or not injury was intended.” Bliss v. Minidoka
21
     Irrigation Dist., No. 46374, 2020 Ida. LEXIS 140, *33 (Idaho 7.15.20) (quoting Miller v. Idaho
22
     State Patrol, 150 Idaho 856, 870 (2011)). The undisputed facts involve deputy Hammond
23
     demanding removal of Odus and, upon refusal by Frazier, leaving only to return a short time later
24
     with Gist and Graham, sham criminal citation in hand. No legal basis warranted the extortionate
25

      MOTION TO WAIVE BOND - 3                                          ANIMAL LAW OFFICES        OF
                                                                       A D A M P. K A R P , E S Q .
                                                           114 W. Magnolia St., Ste. 400-104  Bellingham, WA 98225
                                                                  (888) 430-0001  Facsimile: (833) 878-6835
                                                                          adam@animal-lawyer.com
               Case 1:20-cv-00406-DCN Document 1 Filed 08/17/20 Page 4 of 18



     threat of criminal prosecution, order of removal of Odus from city limits, much less the criminal
1
     charge under a nonextant ordinance and seizure without warrant or exception to the warrant
2

3    requirement. On these facts, defendants will be unable to prove with clear and convincing evidence

4    that Frazier’s action was brought, pursued, or maintained in bad faith. Hence, the court should set

5    bond at $0.

6            Judge Winmill routinely sets bond at low amounts subject to the defendants’ right to
7    petition for an increase. Copeland v. Bannock Cy., 4:19-cv-00089-BLW (D. Idaho
8
     3.13.19)(conditionally setting bond at $500 in § 1983 litigation, subject to defendants’ statutory
9
     right to petition for increase) (see attached).
10
             Accordingly, Frazier requests complete waiver of the IC 6-610 bond.
11
                                 Respectfully submitted this August 17, 2020
12
                                          ANIMAL LAW OFFICES
13
                                   _________________________________
14
                                         Adam P. Karp, ISB 8913
15

16

17

18

19

20

21

22

23

24

25

      MOTION TO WAIVE BOND - 4                                        ANIMAL LAW OFFICES        OF
                                                                     A D A M P. K A R P , E S Q .
                                                         114 W. Magnolia St., Ste. 400-104  Bellingham, WA 98225
                                                                (888) 430-0001  Facsimile: (833) 878-6835
                                                                        adam@animal-lawyer.com
        Case
        Case
         Case4:20-cv-00329-BLW
             1:20-cv-00406-DCN
              4:19-cv-00089-BLW Document
                                Document
                                 Document1-6
                                         12 Filed
                                              Filed08/17/20
                                             Filed  06/27/20 Page
                                                   03/13/19   Page512of
                                                             Page    ofof18
                                                                         23



                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO

  DAN COPELAND,
                                                 Case No. 4:18-cv-00089

         Plaintiff,                              ORDER

            v.

  COUNTY OF BANNOCK, STATE OF
  IDAHO; ROBERT POLEKI,
  individually and in his capacity as a
  County Clerk for the County of Bannock,
  TOM SELLERS, individually,

         Defendant.



                                         ORDER

       Before the Court is Plaintiffs Motion to Set Bond Pursuant to Idaho Code § 6-610.

Section 6-610(2) requires that:

       Before any civil action may be filed against any law enforcement officer or service
       of civil process on any law enforcement officer, when such action arises out of, or
       in the course of the performance of his duty, or in any action upon the bond of any
       such law enforcement officer, the proposed plaintiff or petitioner, as a condition
       precedent thereto, shall prepare and file with, and at the time of filing the
       complaint or petition in any such action, a written undertaking with at least two (2)
       sufficient sureties in an amount to be fixed by the court.

Plaintiff indicates in their motion that they contemporaneously filed a $500.00 bond with

the Court. Dkt. 1. However, no such bond has been filed – apparently due to an

oversight in the offices of Plaintiff’s counsel. The Court will not address whether this




ORDER - 1
        Case
        Case
         Case4:20-cv-00329-BLW
             1:20-cv-00406-DCN
              4:19-cv-00089-BLW Document
                                Document
                                 Document1-6
                                         12 Filed
                                              Filed08/17/20
                                             Filed  06/27/20 Page
                                                   03/13/19   Page623of
                                                             Page    ofof18
                                                                         23



failure constitutes non-compliance with the requirements of the statute. That issue may

be addressed in subsequent proceedings.

      In light of these circumstances, the Court GRANTS IN PART and DENIES IN

PART Plaintiff’s motion. The Court will conditionally set the amount of the required

bond at $500, subject to Defendants’ right to except to the amount of the bond in the

manner set forth in Idaho Code § 6-610(4). If such an exception is filed, the Court will

then take up the issue of whether the bond amount should be increased.



                                                DATED: March 13, 2019


                                                _________________________
                                                B. Lynn Winmill
                                                U.S. District Court Judge




ORDER - 2
              Case 1:20-cv-00406-DCN Document 1 Filed 08/17/20 Page 7 of 18



     ADAM P. KARP, ISB 8913
1    ANIMAL LAW OFFICES
     114 W. Magnolia St., Ste. 400-104
2    Bellingham, WA 98225
     888.430.0001
3    adam@animal-lawyer.com
4

5

6
                                  UNITED STATES DISTRICT COURT
7                                      DISTRICT OF IDAHO
8
     REBECCA FRAZIER-FRANCKE,                             Case No.:
9
                     Plaintiff,                                              COMPLAINT
10
             vs.
11
     CITY OF MARSING, an Idaho municipal
12
     corporation; OWYHEE COUNTY, an Idaho
     municipal corporation; CODY HAMMOND
13
     in his individual and official capacities, and his
     marital community; TYEE GRAHAM in his
14
     individual and official capacities, and his
     marital community; HARVEY GIST in his
15
     individual and official capacities, and his
     marital community;
16
                     Defendants.
17

18           Plaintiff REBECCA FRAZIER-FRANCKE, through attorney of record ADAM P.

19   KARP of ANIMAL LAW OFFICES, alleges:
20                                  I. JURISDICTION AND VENUE
21
        1.          This Court has jurisdiction over the subject matter of this action pursuant to 28
22
     U.S.C. §§ 1331, 2201, and 2202; and venue is properly set in the United States District Court for
23
     the District of Idaho pursuant to 28 U.S.C. § 1391.
24
        2.          The causes of action arise from factual allegations occurring in this judicial district.
25

      COMPLAINT - 1                                                      ANIMAL LAW OFFICES        OF
                                                                        A D A M P. K A R P , E S Q .
                                                            114 W. Magnolia St., Ste. 400-104  Bellingham, WA 98225
                                                                   (888) 430-0001  Facsimile: (833) 878-6835
                                                                           adam@animal-lawyer.com
              Case 1:20-cv-00406-DCN Document 1 Filed 08/17/20 Page 8 of 18



        3.           Plaintiff REBECCA FRAZIER-FRANCKE (“Frazier”) resides in the City of
1
     Marsing, Owyhee Cy., Idaho.
2

3       4.           Six-year-old, neutered male mixed breed dog ODUS was and is regarded as

4    Frazier’s sentient personalty and immediate family member.

5       5.           Defendant OWYHEE COUNTY (“County”) is a political subdivision organized

6    under the laws of the State of Idaho, situated in the State of Idaho, and the employer/principal of
7    individual defendants Hammond and Graham. County is sued under respondeat superior for the
8
     illegal actions of its employees regarding state claims.
9
        6.           Defendant CITY OF MARSING (“City”) is a municipal corporation, organized
10
     under the laws of the State of Idaho, situated in the State of Idaho, and the employer/principal of
11
     individual defendants Hammond, Graham, and Gist. City is sued under respondeat superior for
12
     the illegal actions of its employees regarding state claims.
13
        7.           Defendant CODY HAMMOND (“Hammond”) is, and at all germane times was
14

15
     an employee and/or agent of County and City, acting within the course and scope of his

16   employment for purposes of state law, and under color of state law for purposes of federal law. He

17   is being sued in his personal and official capacities. The marital or domestic partnership

18   community of Hammond has also been sued on the basis that the acts of Hammond enriched the

19   marital or domestic partner community. Should such community not exist, Hammond is sued
20
     individually.
21
        8.           Defendant TYEE GRAHAM (“Graham”) is, and at all germane times was an
22
     employee and/or agent of County and City, acting within the course and scope of his employment
23
     for purposes of state law, and under color of state law for purposes of federal law. He is being sued
24
     in his personal and official capacities. The marital or domestic partnership community of Graham
25

      COMPLAINT - 2                                                    ANIMAL LAW OFFICES        OF
                                                                      A D A M P. K A R P , E S Q .
                                                          114 W. Magnolia St., Ste. 400-104  Bellingham, WA 98225
                                                                 (888) 430-0001  Facsimile: (833) 878-6835
                                                                         adam@animal-lawyer.com
              Case 1:20-cv-00406-DCN Document 1 Filed 08/17/20 Page 9 of 18



     has also been sued on the basis that the acts of Graham enriched the marital or domestic partner
1
     community. Should such community not exist, Graham is sued individually.
2

3       9.          Defendant HARVEY GIST (“Gist”) is, and at all germane times was an employee

4    and/or agent of City, acting within the course and scope of his employment for purposes of state

5    law, and under color of state law for purposes of federal law. He is being sued in his personal and

6    official capacities. The marital or domestic partnership community of Gist has also been sued on
7    the basis that the acts of Gist enriched the marital or domestic partner community. Should such
8
     community not exist, Gist is sued individually.
9
        10.         Frazier’s claim for attorney’s fees and costs is authorized by, inter alia, 42 U.S.C.
10
     § 1988. No administrative claim filing or other pre-litigation requirements apply to her claims
11
     against Defendants under 42 U.S.C. § 1983.
12
        11.         On or about February 24, 2020, the Marsing City Clerk was duly served with a
13
     Notice of Claim compliant with IC 6-906 et seq. in all respects on behalf of Frazier. More than
14

15
     ninety days have elapsed since Frazier filed her claim with the City.

16      12.         On or about February 21, 2020, the Owyhee County Clerk was duly served with a

17   Notice of Claim compliant with IC 6-906 et seq. in all respects on behalf of Frazier. More than

18   ninety days have elapsed since Frazier filed her claim with the County.

19      13.         Plaintiff’s claims for attorney’s fees and costs is authorized by, inter alia, 42 U.S.C.
20
     § 1988 and Idaho Code § 12-117.
21
        14.         Plaintiff asks the court to waive any bond requirement under IC 6-610(2) given the
22
     Supremacy Clause of the United States Constitution, which preempts and invalidates it.
23
        15.         This court has personal jurisdiction over the Defendants.
24
     IV. ALLEGATIONS CONCERNING SEIZURE OF ODUS AND CRIMINAL CHARGE
25

      COMPLAINT - 3                                                     ANIMAL LAW OFFICES        OF
                                                                       A D A M P. K A R P , E S Q .
                                                           114 W. Magnolia St., Ste. 400-104  Bellingham, WA 98225
                                                                  (888) 430-0001  Facsimile: (833) 878-6835
                                                                          adam@animal-lawyer.com
              Case 1:20-cv-00406-DCN Document 1 Filed 08/17/20 Page 10 of 18



        16.         Frazier has resided in the City for thirty-three (33) years and presently owns a home
1
     within city limits, on which she pays property and other municipal taxes.
2

3       17.         Frazier operates a daycare from her home named Lizard Butte Learning Center

4    (“LBLC”).

5       18.         Frazier acquired Odus in 2014. He became an instantly beloved family member to

6    Frazier and her two daughters. He also became an integral part of LBLC, introducing an element
7    of mirth and reducing anxieties for new daycare clients.
8
        19.         Odus was never cited for having bitten a person.
9
        20.         Odus was never declared vicious, dangerous, or potentially dangerous.
10
        21.         Frazier was never criminally charged for owning a vicious, dangerous, or
11
     potentially dangerous dog prior to the unconstitutional matter described herein.
12
        22.         On September 11, 2019, Graham and Hammond made contact with Frazier at her
13
     residence. Hammond unlawfully demanded that Odus be immediately removed from city limits.
14

15
     Frazier, within her rights, refused.

16      23.         Hammond left and, a short time later, returned with Graham and Gist, again

17   entering her premises.

18      24.         Graham issued Frazier a criminal citation for violating a nonextant law, viz.,

19   Marsing Municipal Code 4-2-4 (Vicious Dog), which he designated as a misdemeanor.
20
        25.         MMC 4-2-4 had been repealed on September 12, 2018 by Marsing Ordinance
21
     A205, § 3.
22
        26.         Without a warrant, or a valid exception to the warrant requirement, Graham,
23
     Hammond, and Gist then seized Odus and removed him from her property while observing Frazier
24
     endure extreme mental anguish.
25

      COMPLAINT - 4                                                   ANIMAL LAW OFFICES        OF
                                                                     A D A M P. K A R P , E S Q .
                                                         114 W. Magnolia St., Ste. 400-104  Bellingham, WA 98225
                                                                (888) 430-0001  Facsimile: (833) 878-6835
                                                                        adam@animal-lawyer.com
              Case 1:20-cv-00406-DCN Document 1 Filed 08/17/20 Page 11 of 18



        27.         Hammond told Frazier that she would never see him again and that he would be
1
     euthanized. At that time, Frazier had no idea where they were taking Odus.
2

3       28.         Frazier was never given any paperwork explaining her right to contest the seizure,

4    nor to appeal the alleged claim that Odus was vicious.

5       29.         After due diligence, Frazier learned that Odus was being held at the City of Wilder’s

6    animal shelter and that he would not be released to her under any circumstance.
7       30.         Frazier was given no right of appeal or any documentation besides the sham
8
     criminal citation.
9
        31.         On December 16, 2019, despite having had ample time to review the criminal
10
     citation and recognize its obvious invalidity, Marsing Prosecutor Paul Fitzer filed a Criminal
11
     Complaint in the matter, State v. Frazier-Francke, Owyhee Cy. Dist. Ct. No. CR37-19-1172,
12
     repeating the same erroneous reference to a nonextant code, MMC 4-4-1 and 4-2-4.
13
        32.         Even if MMC 4-4-1 and 4-2-4 were extant (i.e., not repealed by Ordinance A205)
14

15
     the operative term was “dangerous,” not “vicious,” as MMC 4-2-4(A) stated, “The determination

16   of viciousness of such dogs shall be as follows: … probable cause to believe that a dog is

17   dangerous, as defined in section 4-2-1 of this chapter.”

18      33.         However, prior to its repeal by Ordinance A205, MMC 4-2-1 never even defined

19   the term “dangerous.”
20
        34.         Indeed, even under the new definition of “dangerous,” furnished by Ordinance
21
     A205 (MMC 4-2-1 (Ord. A205)), Odus did not remotely satisfy any of the five alternatives and
22
     could not have been “vicious” as a matter of law, assuming MMC 4-2-4 were even extent, since
23
     he had not allegedly (1) inflicted serious injury on a person, (2) killed a domestic animal, (3) been
24
     previously found potentially dangerous where the owner received notice of such determination
25

      COMPLAINT - 5                                                    ANIMAL LAW OFFICES        OF
                                                                      A D A M P. K A R P , E S Q .
                                                          114 W. Magnolia St., Ste. 400-104  Bellingham, WA 98225
                                                                 (888) 430-0001  Facsimile: (833) 878-6835
                                                                         adam@animal-lawyer.com
                Case 1:20-cv-00406-DCN Document 1 Filed 08/17/20 Page 12 of 18



     and the animal subsequently met the definition of potentially dangerous dog for a second time in
1
     a six-month period, (4) been kept with the intent of using his size, manner, disposition, training or
2

3    breeding to instill fear in others, or was bred, trained, owned, possessed, or (5) been kept for

4    dogfighting.

5       35.         Defendants had no legal authority to “capture, impound [or] destroy” Odus as an

6    allegedly vicious dog, particularly after Frazier “refuse[d] to surrender the dog,” for the deputies
7    and Gist had no “legal means” available to them to seize Odus.
8
        36.         Repealed MMC 4-2-4(A) purported to allow an officer to unilaterally determine,
9
     prior to deprivation, if the dog were “dangerous” without the benefit of an impartial magistrate or
10
     judicial officer, without notice to the owner, without an opportunity to be heard before such
11
     determination was made, and without a fair proceeding where the City bore the burden of proof to
12
     present admissible evidence subject to cross-examination and rights to subpoena records and
13
     witnesses – what amounted to an improper delegation of power without any due process that
14

15
     shocks the conscience and inexorably leads to serious, erroneous deprivations.

16      37.         Additionally, post-deprivation, the City did not afford Frazier a right to a hearing

17   to contest the impound or the possibility that Odus would be killed, not even written notification

18   as short as a sentence stating that if the owner disputes the predeprivation determination or

19   postdeprivation seizure may she appeal by taking whatever steps are required to perfect and initiate
20
     such review hearing. The burden of including such notice was nil, assuming any such process even
21
     existed.
22
        38.         On February 3, 2020, Owyhee County District Court Magistrate Judge Darrington
23
     dismissed the criminal case on the prosecutor’s motion.
24
        39.         Until the charge was dismissed on February 3, 2020, Frazier remained under threat
25

      COMPLAINT - 6                                                    ANIMAL LAW OFFICES        OF
                                                                      A D A M P. K A R P , E S Q .
                                                          114 W. Magnolia St., Ste. 400-104  Bellingham, WA 98225
                                                                 (888) 430-0001  Facsimile: (833) 878-6835
                                                                         adam@animal-lawyer.com
               Case 1:20-cv-00406-DCN Document 1 Filed 08/17/20 Page 13 of 18



     of criminal prosecution.
1
         40.         On January 16, 2020, one hundred twenty-eight (128) days after being seized, Odus
2

3    was released to Frazier’s custody after the County realized it had broken the law and violated

4    Frazier’s rights.

5        41.         At no time was Frazier given any opportunity to obtain earlier release of Odus,

6    whose genteel nature was admired by City of Wilder Public Works Assistant Steven Carver and
7    City of Wilder Public Works Supervisor Chelsie Johnson.
8
         42.         On or about January 6, 2020, however, the City issued her an Ordinance Violation
9
     Warning to license Odus even though the City knew he was then impounded in the City of Wilder.
10
         43.         The City further harassed her by demanding proof of rabies vaccination when she
11
     attempted to renew his license, even though the law did not require it. After involvement by Adam
12
     P. Karp, Frazier’s attorney, the City withdrew this request.
13
         44.         As a proximate result of the facts alleged, Frazier suffered loss of enjoyment of life,
14

15
     pain, loss of liberty, mental anguish, mental injury, and suffering, loss of reputation, travel

16   expense, counseling/medical expense, loss of use of Odus, and other damages to be proved at trial.

17       45.         Defendants acts and omissions were fraudulent, oppressive, malicious, and/or

18   outrageous, warranting an award of punitive damages under state and federal law.

19               V. CITY CODE’S PROCEDURAL AND SUBSTANTIVE INFIRMITIES
20
         46.         Plaintiff resides in the City with Odus and is imperiled by Ordinance A205
21
     (“A205”), enacted by City on September 12, 2018.
22
         47.         A205 denies citizens of procedural due process by permitting impoundment of dogs
23
     where the police officer or other animal control officer have probable cause to believe that any
24
     person has violated any provision of that chapter for which the animal may be impounded whether
25

      COMPLAINT - 7                                                     ANIMAL LAW OFFICES        OF
                                                                       A D A M P. K A R P , E S Q .
                                                           114 W. Magnolia St., Ste. 400-104  Bellingham, WA 98225
                                                                  (888) 430-0001  Facsimile: (833) 878-6835
                                                                          adam@animal-lawyer.com
                 Case 1:20-cv-00406-DCN Document 1 Filed 08/17/20 Page 14 of 18



     or not the dog is declared potentially dangerous or dangerous. The mere act of impoundment lacks
1
     any right to appeal such police action and the code does not require any attempt to notify the owner
2

3    that the dog has been impounded. See MMC 4.2.5.4 and 4.2.5.1(C) [dog found running at large

4    may be impounded “without the necessity of filing a complaint”] and 4.2.5.2 [animal presenting

5    immediate danger may be impounded].

6         48.          While MMC 4.2.6.1 provides for written notification (MMC 4.2.6.1(D)), a right to
7    object and a hearing (MMC 4.2.6.1(G)), and a right to appeal (MMC 4.2.6.1(H)), MMC 4.2.6.1
8
     violates procedural due process in several ways, including but not limited to: (i) lack of any right
9
     of cross-examination1; (ii) lack of right to subpoena records or witnesses; (iii) appearing to
10
     dispense with all rules of evidence; (iv) if there is no recording of proceedings, then no ability to
11
     meaningfully seek appellate review given the lack of a right to trial de novo; (v) the asymmetrical
12
     condition that the dog owner must submit evidence under oath or affirmation but, not, seemingly,
13
     the City; and (vi) the improper application of a scope of appellate review that defers to the city
14

15
     council, a body of nonlawyers not trained in judicial process, resulting in reversal only if the

16   decision was arbitrary or capricious (i.e., if there was not “sufficient evidence”).

17                                  VI. FEDERAL CLAIMS UNDER 42 USC § 1983

18              FIRST CLAIM (CITY) – Injunctive and Declaratory Relief Under 42 USC § 1983 for

19   Ongoing Violation of Federally-Protected Constitutional Rights by Ord. A205.
20
          49.          As discussed above, Ord. A205 unconstitutionally deprives citizens of procedural
21
     due process, results in unlawful seizures, and takings in violation of the Fourth, Fifth, and
22
     Fourteenth Amendments to the United States Constitution.
23

24
     1
25    Stating that both parties may “ask questions” does not indicate if made of the opposing party, a witness, or the City
     Councilmembers.
         COMPLAINT - 8                                                          ANIMAL LAW OFFICES        OF
                                                                               A D A M P. K A R P , E S Q .
                                                                   114 W. Magnolia St., Ste. 400-104  Bellingham, WA 98225
                                                                          (888) 430-0001  Facsimile: (833) 878-6835
                                                                                  adam@animal-lawyer.com
                Case 1:20-cv-00406-DCN Document 1 Filed 08/17/20 Page 15 of 18



         50.        Frazier seeks prospective injunctive and declaratory relief to cure its constitutional
1
     infirmities.
2

3              SECOND CLAIM (HAMMOND, GRAHAM, GIST) – Violation of Federally-

4    Protected Constitutional Rights under Fourth and Fourteenth Amendments under 42 USC

5    § 1983 by Malicious Prosecution, Deprivation of Procedural and Substantive Due Process,

6    and Unreasonable Seizure.
7        51.        Defendant Graham acted under color of state law in violating Frazier’s rights under
8
     the Fourth Amendment to the United States Constitution by initiating and/or continuing to
9
     criminally charge Frazier with malice and without probable cause, and using that charge as a
10
     purported basis to illegally seize Odus and, further, to deny any pre- or postdeprivation hearing.
11
         52.        Defendants Hammond, Graham, and Gist acted under color of state law in violating
12
     Frazier’s rights under the Fourth and Fourteenth Amendments to the United States Constitution by
13
     seizing Odus without a warrant or viable exception to the warrant requirement.
14

15
         53.        The prosecution of Frazier concluded in her favor by the prosecutor’s motion to

16   dismiss.

17       54.        Their unconstitutional acts were performed intentionally, recklessly, and/or with

18   deliberate indifference.

19       55.        All individual defendants acted with a common purpose, knowing what they were
20
     each doing, and contributed to legal injuries that are often difficult to divide, and thus are jointly
21
     and severally liable for all remedies (including those for state law claims), except for punitive
22
     damages, which are sought individually.
23
         56.        Defendants’ actions and inactions in seizing Odus and withholding him from
24
     Frazier materially and significantly, over long duration, shocked the conscience and interfered with
25

      COMPLAINT - 9                                                     ANIMAL LAW OFFICES        OF
                                                                       A D A M P. K A R P , E S Q .
                                                           114 W. Magnolia St., Ste. 400-104  Bellingham, WA 98225
                                                                  (888) 430-0001  Facsimile: (833) 878-6835
                                                                          adam@animal-lawyer.com
              Case 1:20-cv-00406-DCN Document 1 Filed 08/17/20 Page 16 of 18



     her liberty and property interests in Odus, thus constituting an impermissible seizure in violation
1
     of the Fourth Amendment and procedural and substantive dimensions of the Fifth Amendment’s
2

3    due process clause.

4       57.         As a direct result of the foregoing, Frazier sustained constitutional injuries and

5    damages in an amount to be proven at trial, including but not limited to legal jeopardy, mental pain

6    and anguish, emotional trauma, embarrassment, reputational damage and humiliation, financial
7    losses, and loss of use of Odus.
8
                                           VII. STATE LAW CLAIMS
9
                   FIRST CLAIM (CITY, COUNTY, GRAHAM) – Malicious Prosecution.
10
        58.         Defendants Graham, City (through Graham per agreement between City and
11
     County to use Owyhee County Sheriff’s Office for local law enforcement, and furthered through
12
     Fitzer), and County (vicariously through employee Graham) acted under color of state law to
13
     institute and continue the criminal prosecution of Frazier.
14

15
        59.         No probable cause existed to support the filing and continued prosecution of the

16   charge against Frazier.

17      60.         Defendants instituted, encouraged, and continued to prosecute Frazier through

18   malice and in reckless disregard of her rights.

19      61.         The proceedings against Frazier were terminated on the merits in her favor.
20
        62.         As a direct result of the foregoing, Frazier sustained injuries and damages in an
21
     amount to be proven at trial, including but not limited to legal jeopardy, mental pain and anguish,
22
     emotional trauma, embarrassment, reputational damage and humiliation, financial losses, and loss
23
     of use of Odus.
24
                SECOND CLAIM (ALL DEFENDANTS) – Conversion/Trespass to Chattels.
25

      COMPLAINT - 10                                                   ANIMAL LAW OFFICES        OF
                                                                      A D A M P. K A R P , E S Q .
                                                          114 W. Magnolia St., Ste. 400-104  Bellingham, WA 98225
                                                                 (888) 430-0001  Facsimile: (833) 878-6835
                                                                         adam@animal-lawyer.com
                Case 1:20-cv-00406-DCN Document 1 Filed 08/17/20 Page 17 of 18



         63.         Whether construed as willful conversion or trespass to chattels, individual
1
     defendants Hammond, Graham, and Gist intentionally exercised unauthorized dominion and
2

3    control over Odus and withheld him, on threat of euthanasia, for over four months, causing damage

4    to Frazier.

5        64.         City and County are vicariously liable for such acts of the individual defendants

6    based on respondeat superior.
7                              THIRD CLAIM (ALL DEFENDANTS) – Outrage.
8
         65.         Individual defendants Hammond, Graham, and Gist engaged in extreme and
9
     outrageous conduct, which was intentional and/or reckless in nature, causing severe emotional
10
     distress to Frazier.
11
         66.         City and County are vicariously liable for such acts of the individual defendants
12
     based on respondeat superior.
13
               FOURTH CLAIM (GRAHAM, HAMMOND, CITY, COUNTY) – Abuse of Process.
14

15
         67.         Individual defendants Hammond and Graham willfully used legal process not

16   proper in the regular course of the proceeding for an ulterior, improper purpose, viz., a sham

17   criminal citation to purportedly justify the seizure of Odus.

18       68.         City and County are vicariously liable for such acts of the individual defendants

19   based on respondeat superior.
20
                                                 PRAYER
21
               WHEREFORE, Frazier prays for judgment against Defendants, joint and several, as
22
     follows:
23
               A. For economic damages;
24
               B. For noneconomic damages;
25

      COMPLAINT - 11                                                   ANIMAL LAW OFFICES        OF
                                                                      A D A M P. K A R P , E S Q .
                                                          114 W. Magnolia St., Ste. 400-104  Bellingham, WA 98225
                                                                 (888) 430-0001  Facsimile: (833) 878-6835
                                                                         adam@animal-lawyer.com
             Case 1:20-cv-00406-DCN Document 1 Filed 08/17/20 Page 18 of 18



            C. For punitive damages against Hammond, Graham, Gist, City, and County;
1
            D. For injunctive relief as stated;
2

3           E. For declaratory relief as stated;

4           F. For costs of suit under IC 6-610 and any other basis;

5           G. For reasonable attorney’s fees and other litigation-related costs as allowed by law under

6    42 U.S.C. § 1988, IC 12-121, or as otherwise provided by law or equity; and
7           H. For such other and further relief as the Court may deem just and proper.
8
                                        Dated this August 17, 2020.
9
                                        ANIMAL LAW OFFICES
10
                                           /s/ Adam P. Karp
11                               _________________________________
                                     Adam P. Karp, ISBA No. 8913
12                                    Attorney for Plaintiff Frazier
                                    114 W. Magnolia St., Ste. 400-104
13
                                        Bellingham, WA 98225
14
                                            (888) 430-0001
                                       adam@animal-lawyer.com
15

16

17

18

19

20

21

22

23

24

25

      COMPLAINT - 12                                                  ANIMAL LAW OFFICES        OF
                                                                     A D A M P. K A R P , E S Q .
                                                         114 W. Magnolia St., Ste. 400-104  Bellingham, WA 98225
                                                                (888) 430-0001  Facsimile: (833) 878-6835
                                                                        adam@animal-lawyer.com
